

People v K.R. (2024 NY Slip Op 05496)





People v K.R.


2024 NY Slip Op 05496


Decided on November 07, 2024


Appellate Division, First Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided and Entered: November 07, 2024

Before: Moulton, J.P., Friedman, Mendez, Shulman, Rodriguez, JJ. 


Ind No. 1637/17 Appeal No. 2975 Case No. 2019-5397 

[*1]The People of the State of New York, Respondent,
vK.R., Defendant-Appellant.


Twyla Carter, The Legal Aid Society, New York (Anju M. Alexander of counsel), for appellant.



Judgment, Supreme Court, Bronx County (William I. Mogulescu, J.), rendered May 15, 2018, convicting defendant, upon his plea of guilty, of robbery in the first degree, adjudicating him a youthful offender, and sentencing him to three years of probation, unanimously modified, as a matter of discretion in the interest of justice, to the extent of vacating the surcharge and crime victim assistance fee imposed at sentencing, and otherwise affirmed.
Based on our own interest of justice powers, we vacate the surcharge and fee
imposed on defendant at sentencing (see People v Chirinos, 190 AD3d 434 [1st Dept 2021]). We note that the People do not oppose this relief.THIS CONSTITUTES THE DECISION AND ORDER
OF THE SUPREME COURT, APPELLATE DIVISION, FIRST DEPARTMENT.
ENTERED: November 7, 2024








